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                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                     FORT LAUDERDALE DIVISION

In re:                                                           Case No. 14-12147-JKO
         Ralph L Sanders

                      Debtor(s)



              CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

         Robin R. Weiner, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 01/29/2014.

         2) The plan was confirmed on 08/04/2014.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

        4) The trustee filed action to remedy default by the debtor in performance under the plan
on 12/29/2016.

         5) The case was dismissed on 01/30/2017.

         6) Number of months from filing to last payment: 35.

         7) Number of months case was pending: 39.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $321,200.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




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Receipts:

           Total paid by or on behalf of the debtor                     $102,208.10
           Less amount refunded to debtor                                     $0.00

NET RECEIPTS:                                                                                              $102,208.10



Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                          $5,450.00
     Court Costs                                                                        $0.00
     Trustee Expenses & Compensation                                                $3,026.22
     Other                                                                              $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                               $8,476.22

Attorney fees paid and disclosed by debtor:                          $2,000.00



Scheduled Creditors:
Creditor                                                Claim          Claim           Claim        Principal        Int.
Name                                    Class         Scheduled       Asserted        Allowed         Paid           Paid
Bank of America                     Unsecured            24,345.00            NA              NA            0.00            0.00
BellSouth Telecommunication, Inc.   Unsecured                  NA          156.63          156.63          47.10            0.00
Central Financial Control           Unsecured               689.00            NA              NA            0.00            0.00
First Federal Credit Control        Unsecured                25.00            NA              NA            0.00            0.00
Flagship Credit Acceptance, LLC     Secured                    NA            0.00            0.00           0.00            0.00
Midland Credit Management, Inc.     Unsecured             4,500.00            NA              NA            0.00            0.00
PENNY MAC LOAN SERVICES LLC         Secured             180,681.00            NA              NA            0.00            0.00
Sherry Lempka                       Priority                   NA             NA              NA            0.00            0.00
Sherry Lempka                       Unsecured                  NA       14,878.00       14,878.00       4,474.26            0.00
Small Business Administration       Secured              49,306.15            NA              NA            0.00            0.00
Stellar Recovery                    Unsecured               184.00            NA              NA            0.00            0.00
United States Treasury              Secured                    NA            0.00            0.00           0.00            0.00
US SMALL BUSINESS ADMIN             Unsecured                  NA       50,744.71       50,744.71      15,260.45            0.00
Wells Fargo Bank, NA                Secured             286,879.00     369,353.28      126,720.00      73,920.00            0.00
Westside Regional Medical Center    Unsecured                  NA          100.00          100.00          30.07            0.00




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 Summary of Disbursements to Creditors:
                                                                      Claim             Principal           Interest
                                                                    Allowed                 Paid               Paid
 Secured Payments:
        Mortgage Ongoing                                       $126,720.00           $73,920.00               $0.00
        Mortgage Arrearage                                           $0.00                $0.00               $0.00
        Debt Secured by Vehicle                                      $0.00                $0.00               $0.00
        All Other Secured                                            $0.00                $0.00               $0.00
 TOTAL SECURED:                                                $126,720.00           $73,920.00               $0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                                    $0.00               $0.00              $0.00
         Domestic Support Ongoing                                      $0.00               $0.00              $0.00
         All Other Priority                                            $0.00               $0.00              $0.00
 TOTAL PRIORITY:                                                       $0.00               $0.00              $0.00

 GENERAL UNSECURED PAYMENTS:                                     $65,879.34          $19,811.88               $0.00



 Disbursements:

          Expenses of Administration                                    $8,476.22
          Disbursements to Creditors                                   $93,731.88

 TOTAL DISBURSEMENTS :                                                                                $102,208.10



         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 04/25/2017                                  By: /s/ Robin R. Weiner
                                                                                 Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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